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                                                                         6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         9   UNITED STATES OF AMERICA,                               No. CR 06-00144-1 JSW
                                                      10                                    Plaintiff,                               ORDER GRANTING RENEWED
                                                                                                                                     EX PARTE APPLICATION FOR
                                                      11                       v.                                                    ISSUANCE OF RULE 17(C)
United States District Court




                                                                                                                                     SUBPOENAS
                                                      12                     RENATO MENDOZA MEDINA,
                                                      13                                    Defendant.
                               For the Northern District of California




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                                                      15                            This matter comes before the Court upon consideration of Defendant Renato Mendoza
                                                      16                     Medina’s Renewed Ex Parte Application for Issuance of Rule 17(c) Subpoenas. Having
                                                      17                     reviewed the application, the Court finds Defendant made the required showing under United
                                                      18                     States v. Nixon, 418 U.S. 683, 700 (1974) for production in advance of trial and, accordingly,
                                                      19                     GRANTS the renewed application.
                                                      20                            IT IS SO ORDERED.
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                                                      22                     Dated: August 16, 2006
                                                                                                                                     JEFFREY S. WHITE
                                                      23                                                                             UNITED STATES DISTRICT JUDGE
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